AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                  for thH_
                                                     Eastern District of Washington
                      NEIL GRENNING

                                                                     )
                             Plaintiff                               )
                                v.                                   )       Civil Action No. CV-12-0600-JLQ
               CRAIG D. HARRINGTON and                               )
                JACK W. RICHARDSON,                                  )


                            Defendant
                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

u the plaintiff (name)                                                                                        recover from the
defendant (name)                                                                                                 the amount of
                                                                            dollars ($              ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of            % per annum, along with costs.

u the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other: The Stipulated Motion for Order of Dismissal (ECF No. 144) is granted. The Third Amended Complaint (ECF No. 76),
u
              and the claims therein, are dismissed with prejudice and without costs or attorneys fees to any party.




This action was (check one):
u tried by a jury with Judge                                                                         presiding, and the jury has
rendered a verdict.

u tried by Judge                                                                          without a jury and the above decision
was reached.

u decided by Judge                                                                             on a motion for




Date: September 22, 2015                                                   CLERK OF COURT

                                                                            SEAN F. McAVOY

                                                                            s/Sean F. McAvoy
                                                                                           %\ Deputy Clerk

                                                                            Sean F. McAvoy
